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      Case 3:16-cv-01000-B Document 1-9 Filed 04/12/16                                    Page 2 of 2 PageID 87                   FELICIA PITRE
                                                                                                                               DISTRICT CLERK


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April 6, 2016


Felicia Pitre
Dallas County District Clerk
George Allen Courts Building
600 Commerce Street, 4th Floor
Suite 455, Dallas, Texas 75202

Re:       Cause No. DC-16-02809; Jamie Welch v. Energy Transfer Equity, L.P. and LE GP, LLC;
          In the 191st Judicial District Court of Dallas County, Texas.

Ms. Pitre:

By filing of this letter, please accept payment of the remaining balance of $8 for Envelope
#9964172 for the filing dated April 5, 2016. Please issue a citation to Defendant LE GP, LLC to
its registered agent: Clay Kutch, 2828 Woodside Street, Dallas, Texas 75204.

Very truly yours,



Karl S. Stern

Enclosure
06967-00001/7853159.1




       quinn emanuel urquhart & sullivan, llp
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